                                     In The
                         United States Court of Appeals
                             For the Eighth Circuit

                         ________________________

                                No. 22-2870
                         ________________________

                             United States of America,

                                    Appellee,

                                        vs.

                                  Edell Jackson,

                                    Appellant.

                         ________________________

                 Appeal from the United States District Court
                        For the District of Minnesota
    The Honorable Donovan W. Frank, Senior District Court Judge, Presiding
                       ________________________

         APPELLANT’S PETITION FOR REHEARING EN BANC
                   __________________________


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                   STATEMENT PURSUANT TO RULE 35(b)(1)

      The panel decision in this case conflicts with a decision of the United States

Supreme Court, requiring consideration of the full court to rectify the conflict. In

particular, the panel’s decision conflicts with the Supreme Court’s opinion in New

York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022). It also conflicts

with previous cases from this Circuit, notably United States v. Sitladeen, 64 F.4th

978 (8th Cir. 2023), and en banc consideration therefore is necessary to secure or

maintain uniformity of this Court's own decisions.

      Perhaps most notable, though, is that this proceeding also involves a question

of exceptional importance because the panel opinion directly conflicts with the

authoritative decision on the same precise issue by the United States Court of

Appeals for the Third Circuit. Specifically, in Range v. Att'y Gen. United States of

Am., 69 F.4th 96 (3d Cir. 2023) (en banc), the Third Circuit concluded that 18 U.S.C.

§ 922(g)(1)’s prohibition on the possession of firearms by a person convicted of a

felony offense was unconstitutional as applied in that case to someone convicted

only of a nonviolent felony offense. The panel opinion in this case concluded exactly

to the contrary.




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             ARGUMENT IN SUPPORT OF REHEARING EN BANC

       The Second Amendment protects the right to possess and carry firearms: “the

right of the people to keep and bear Arms, shall not be infringed.” U.S. CONST. AMEND.

II. In District of Columbia v. Heller, 554 U.S. 570 (2008), the Supreme Court held that

the Second Amendment “confer[s] an individual right to keep and bear arms.” Id. at

595. In New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), the

Court reaffirmed that holding and clarified that the only way that laws can

constitutionally restrict the exercise of that right is if they are shown to be “consistent

with this Nation’s historical tradition of firearm regulation.” Id., 142 S. Ct. at 2126.

The law at issue in this case makes it

       unlawful for any person who has been convicted in any court of a crime
       punishable by imprisonment for a term exceeding one year to ship or
       transport in interstate or foreign commerce, or possess in or affecting
       commerce, any firearm or ammunition; or to receive any firearm or
       ammunition which has been shipped or transported in interstate or foreign
       commerce.

18 U.S.C. § 922(g)(1).

       Edell Jackson was charged with and convicted of that crime after a trial in

federal district court in Minnesota. He had served time in the custody of the Minnesota

Department of Corrections after his previous convictions for the street-level sales of a

few grams of cocaine. At the time of his arrest in this case, he knowingly possessed a

pistol. He believed he had been relieved of his status as a felon, and returned to full
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citizenship, after completion of his prison sentence and upon discharge from all

required supervision. His belief was based on his discharge paperwork that included a

notice informing him of the restoration of his civil rights. That notice included a caveat

that the right to possess a firearm was not restored for persons who had been convicted

of “crimes of violence.” Because his cocaine sales did not involve violence, he

understood the restoration of his civil rights to be complete. He was mistaken,

however, because the Minnesota statute defining crimes of violence includes virtually

all felony drug offenses regardless how they might be committed.

I.      The Panel Opinion Conflicts with the Third Circuit’s En Banc Decision in
        Range, and Conflicts with the Supreme Court’s Decision in Bruen.

        Only days after the panel issued its opinion in this case, the full Third Circuit

Court of Appeals published its decision in Range, overturning the holding of the

vacated panel opinion upon which the panel of this Court so heavily relied. Range v.

Att'y Gen. United States of Am., 69 F.4th 96 (3d Cir. 2023) (en banc). That decision

first rejected the Government’s contention that the scope of the Second Amendment

right did not extend to Mr. Range: “we reject the Government's contention that only

‘law-abiding, responsible citizens’ are counted among ‘the people’ protected by the

Second Amendment.” Id. at 103. As discussed below, this panel’s opinion did not

conduct that analysis, so no clear conflict arises from the Third Circuit’s holding on

that issue.



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      The decisions directly conflict, however, when reaching the second part of

Bruen’s required analysis. Quoting Bruen, the Range opinion continued: “To preclude

Range from possessing firearms, the Government must show that § 922(g)(1), as

applied to him, ‘is part of the historical tradition that delimits the outer bounds of the

right to keep and bear arms.’” Id. To establish that historical tradition in this case, the

panel relied almost exclusively on the findings of the vacated Third Circuit panel:

      the Third Circuit panel in Range concluded that legislatures traditionally
      possessed discretion to disqualify categories of people from possessing
      firearms to address a threat purportedly posed by these people ‘to an
      orderly society and compliance with its legal norms,’ not merely to
      address a person's demonstrated propensity for violence.

United States v. Jackson, 69 F.4th 495, 503 (8th Cir. 2023).

      The en banc Third Circuit firmly rejected that reasoning without hesitation:

“That Founding-era governments disarmed groups they distrusted like Loyalists,

Native Americans, Quakers, Catholics, and Blacks does nothing to prove that Range

is part of a similar group today.” Range, at 105. Leaving aside for the moment that

disqualification of similar groups today would obviously violate other constitutional

guarantees, if Congress or the various state legislatures were constitutionally permitted

to define any random category of people as not deserving of Second Amendment

protections simply because it perceived the group to be a political threat, the

Amendment would be rendered hollow and the analysis would revert to a means-ends

analysis expressly rejected by Bruen: “To justify its regulation, the government may


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not simply posit that the regulation promotes an important interest.” Bruen, 142 S. Ct.

at 2126.

      Apart from a brief discussion of the history of § 922(g)(1), the panel opinion in

this case provides no further basis for finding the challenged statute to be constitutional

as applied to Mr. Jackson: “In sum, we conclude that legislatures traditionally

employed status-based restrictions to disqualify categories of persons from possessing

firearms.” Jackson, at 505. Holding the statute to be constitutional as applied to

Jackson based on that conclusion directly conflicts with the Third Circuit’s holding in

Range.

      The holding also conflicts with Bruen for the same reason. Bruen requires that

a challenged regulation comport with the Nation’s historical tradition of firearm

regulation. The panel’s conclusion that the historical tradition included “status-based”

prohibitions does not meet Bruen’s requirement that the challenged regulation and the

historical analogues be “relevantly similar.” Bruen, 142 S. Ct. at 2132. As noted in

Range, simply because there were historical analogues prohibiting Blacks and

Catholics from possession of firearms, it does not follow that prohibiting felons

therefore comports with the historical tradition.

      Bruen provided some guidance in observing that “when a challenged regulation

addresses a general societal problem that has persisted since the 18th century, the lack

of a distinctly similar historical regulation addressing that problem is relevant evidence


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that the challenged regulation is inconsistent with the Second Amendment.” Bruen,

142 S. Ct. at 2131. But there have always been felons, and “[f]ounding-era legislatures

did not strip felons of the right to bear arms simply because of their status as felons.”

Kanter v. Barr, 919 F.3d 437, 451 (7th Cir. 2019) (Barrett, J., dissenting), abrogated

by New York State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111 (2022). The

panel opinion’s holding that § 922(g)(1) is constitutional as applied to Jackson based

on nothing more than a conclusion that generic status-based prohibitions were part of

the Nation’s historical tradition therefore also directly conflicts with Bruen.

II.      The Panel Opinion Correctly Dispensed with an Analysis of the Scope of the
         Second Amendment Right, but Conflicts with this Court’s Prior Precedent that
         Requires Such an Analysis.

         This Court has traditionally (at least before the panel opinion in this case)

focused not on the Nation’s historical tradition of firearms regulation, but instead on

“the scope of the right” approach, contending that

         Bruen does not command us to consider only “conduct” in isolation and
         simply assume that a regulated person is part of “the people.” To the
         contrary, Bruen tells us to begin with a threshold question: whether the
         person's conduct is “covered by” the Second Amendment's “plain text.”
         See 142 S. Ct. at 2129-30. And in [United States v.] Flores[, 663 F.3d
         1022 (8th Cir. 2011)], we did exactly that when we determined that the
         plain text of the Amendment does not cover any conduct by unlawfully
         present aliens. . . . Thus, just as Bruen does not cast doubt on Flores's
         interpretation of “the people,” neither does it disavow Flores's “scope of
         the right” approach.

United States v. Sitladeen, 64 F.4th 978, 987 (8th Cir. 2023). The Sitladeen opinion

nonetheless also recognized the criticism of the approach: “other courts both before
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and after Bruen have criticized Flores's so-called ‘scope of the right’ approach,

insisting that a textual analysis of ‘the people’ is not the right starting point when

deciding whether a firearm regulation violates the Second Amendment.” Sitladeen, at

986.

       The Sitladeen opinion acknowledged that “Flores's textual interpretation may

or may not be correct.” Id. at 987. But it concluded that it was bound by its precedent,

and that “until the Supreme Court or our en banc court determines otherwise, the law

of our circuit” first requires an analysis whether the person affected by a firearm

prohibition “is part of ‘the people’ to whom the protections of the Second Amendment

extend.” Sitladeen, at 987. This case presents the opportunity for the en banc court to

clarify whether the Jackson panel erred – and therefore muddied the requirements of

this Court’s precedent – by not adhering to that approach at all; but it also presents the

full Court with the opportunity to reconsider the holding of Sitladeen and Flores.

       What is clear is that the panel opinion in this case carefully avoided a scope-of-

the-right analysis, choosing instead to jump to the second part of the Bruen analysis

and rest its decision on the already vacated conclusion of the Third Circuit’s Range

panel that the disarmament of status-based categories of people fits comfortably within

the Nation’s historical tradition of firearms regulation. Nowhere in the panel opinion




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does it cite to or even acknowledge Sitladeen or Flores, or make any reference at all to

the scope-of-the-right approach.1

       The scope-of-the-right analysis adopted by previous panels of this Court, and

passed over by the panel opinion in this case is, of course, more than a little stilted and

artificial. The panel was correct to avoid it. In the words of Judge Reeves from the

opinion released just two weeks ago in United States v. Bullock, No. 3:18-CR-165-

CWR-FKB, 2023 WL 4232309 (S.D. Miss. June 28, 2023), “Bruen step one requires

us to look at the ‘conduct’ being regulated, not the status of the person performing the

conduct.” Id. at *20. The panel’s decision to forego a discussion of the scope of the

right – usually framed by other courts as an analysis of the meaning of the words “the

people” in the Second Amendment – better comports with the Supreme Court

precedent. The full Court should grant review to make clear that it is the correct

approach.

       Indeed, there is nothing in Heller or Bruen that supports this Court’s previous

focus on a person’s “status” as opposed to her “conduct.” Bruen was explicit:



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  This is particularly noteworthy considering its heavy reliance on the panel opinion
in Range and that panel’s own conclusion based on a scope-of-the-right analysis that
“[t]hose whose criminal records evince disrespect for the law are outside the
community of law-abiding citizens entitled to keep and bear arms.” Range v. Att'y
Gen. United States, 53 F.4th 262, 273 (3d Cir. 2022), reh'g en banc granted, opinion
vacated sub nom. Range v. Att'y Gen. United States of Am., 56 F.4th 992 (3d Cir.
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F.4th 96 (3d Cir. 2023).
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      We reiterate that the standard for applying the Second Amendment is as
      follows: When the Second Amendment's plain text covers an individual's
      conduct, the Constitution presumptively protects that conduct. The
      government must then justify its regulation by demonstrating that it is
      consistent with the Nation's historical tradition of firearm regulation.
      Only then may a court conclude that the individual's conduct falls outside
      the Second Amendment's unqualified command.

Bruen, 142 S. Ct. at 2129–30 (cleaned up and emphasis added). Heller was particularly

clear that there is no principled basis to distinguish the meaning of “the people” in the

Second Amendment from the meaning of “the people” as used in the First Amendment

(“the right of the people peaceably to assemble, and to petition the Government for a

redress of grievances”), U.S. CONST. AMEND. I (emphasis added), and in the Fourth

Amendment (“The right of the people to be secure in their persons, houses, papers, and

effects, against unreasonable searches and seizures, shall not be violated”). U.S.

CONST. AMEND. IV (emphasis added). “[T]he term unambiguously refers to all

members of the political community, not an unspecified subset. Heller, 554 U.S. at

580. The Court reiterated the point, declaring that “[w]e start therefore with a strong

presumption that the Second Amendment right is exercised individually and belongs

to all Americans.” Id. at 581 (emphasis added).

      This Court certainly is not prepared to find that persons convicted of crimes

punishable by more than a year in prison may constitutionally be prohibited from

peaceable assembly or from asserting the protections of the Fourth Amendment against

unreasonable searches and seizures. There is no better justification for carving out a


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special exemption for the possession of firearms and ammunition – unless an

established historical tradition of such prohibitions existed at the time of the adoption

of the Second Amendment.

                                   CONCLUSION

       Based on all of the foregoing, the Court should accept the matter for rehearing

en banc.2

Dated: 14 July 2023                       Respectfully submitted,

                                          /s Daniel L. Gerdts
                                          ______________________
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 It will not be lost on this Court that the Supreme Court just accepted review of the
Fifth Circuit’s opinion in United States v. Rahimi, 61 F.4th 443 (5th Cir. 2023), cert.
granted, No. 22-915, 2023 WL 4278450 (U.S. June 30, 2023). That case found a
different subdivision of § 922(g) facially unconstitutional. The question accepted for
review: “Whether 18 U.S.C. 922(g)(8), which prohibits the possession of firearms
by persons subject to domestic violence restraining orders, violates the Second
Amendment on its face.” Petition for Cert., 2023 WL 2600091, at *2.
       That case concerned an individual subject to a civil restraining order who was
involved in five shootings in and around Arlington, Texas, in less than two months.
See Rahimi, 61 F.4th at 448–49. While it might provide the Court with the
opportunity to provide further guidance on how to evaluate firearms regulations, it
certainly will not answer the questions raised here nor resolve the split of authority
between this Court and the Third Circuit inasmuch as it was a facial challenge, to a
different statutory subdivision, arising out of a civil injunction, and involving a
concededly very violent individual. It is more likely that this Court’s en banc
decision will inform the Court in Rahimi.

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                      CERTIFICATE OF COMPLIANCE

                                  No. 22-2870

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Dated: 14 July 2023                    s/ Daniel L. Gerdts
                                       ________________________
                                       Daniel L. Gerdts




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                         CERTIFICATE OF SERVICE

                                    No. 22-2870


      Daniel L. Gerdts, a member in good standing of the bar of this Court, and

hereinafter subscribed, states and affirms the following:

      On the 14th day of July 2023, he served, or caused to be served, Appellant’s

Petition for Rehearing En Banc on opposing counsel David M. Genrich, AUSA, who

is a registered CM/ECF user and who will be served by the CM/ECF system by

virtue of my having filed said document electronically.


Dated: 14 July 2023                     s/ Daniel L. Gerdts
                                        ________________________
                                        Daniel L. Gerdts




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